Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 1 of 8

Bobby Bruce. White #76983

Name

Larned State Correchtanal Facile ty.

IBIS KS: s Wig hwy Zo!
l_avpeck } Kansas A550

Address
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS
Bobby Bruce. Whyte. , Plantiff CASE NO. 24-3023-JWL
(Full Naine) (To be supplied by the Clerk}
Vv.
SECOND AMENDED

Spillman, Parkes , Defendant (s) CIVIL RIGHTS COMPLAINT

L. PURSUANT TO 42 U.S.C.
Meredith 4 Chop met §1983

A. JURISDICTION

1) Babb Y Bruce. Wh te.¥ 76983. isacitizen of Kansas

(Plaintiff (State)

who presently resides at Lemed Stale Correchtona) Faces ity : 1313 HS y
(Mailing address or placd

Hick. Oa. 264s Larne d, Ronsas 67550

of co¥ffinement,)4
2) Defendant Gary Syitlataa is a citizen of
(Name of first defendant)
Lansing 5 KaAsas , and is employed as

(City, State)

BIBRA StakF Counselor. / hans) tae Corp ecthiercd Kaci li ty. At the time the
(Position and title, if any)

claim(s) alleged in this complaint arose, was this defendant acting under the color of state

law? Yes [><] Nof” ]. [f-your answer is “Yes”, briefly explain:

Me, Spitlmowy is He. (KMC/B) BR Kansas hepartyed-os Corrections /

Brothers ih Bluc Ae far program counselar Soe Shee arisontens

XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 2 of 8

3) Defendant Mr. Andrew hr ans is a citizen of
(Name af second defendant)
Leia s JHA A for 1 heosen wor th? Kessas , and is employed as
(City, state}
Unit Ram Manager, ewising Correctional Fac} lity . At the time the

(Position and title, if an)?

claim (s) alleged in this complaint arose was this defendant acting under the color of state

law? Yes [<[ No [_]. If your answer is “Yes”, briefly explain:

AS manager of the. cesiictie. heusing, Und US Pad slt dash AY thes Pup hes_is. 5
imspm sible foe the prisowr é Agus : “she Le i abs
appre prlal® for thede jndividual heas) sfug 3 needs aud secur hy relubve, fer...
thes? pti shivierck 5 oy Sai Fetu-, , Srorechive. cus bocles needs «

(Use the back of this page to furnish the above information for additional defendants.)
Brdi and 4th Defendants steal on back page 2A

4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3); 42 ULS.C. §1983. (If you wish to
assert jurisdiction under different or additional statutes, you may list them below.)

WANSCS §1985 , /S4SCS S24) ancl AYR, /845,05513 14

B. NATURE OF THE CASE

1) Briefly state the background of your case: tJhife asserts, ever 4years he. hows complained
be he ELRDeC. oFHdals and state. court (Lyeo 26¢¥ 243 faacv'ea3) a bend the drag liebecce
g i CF, tohy fe § Ub crete th ce A,
received. me edt of by oe LeVUUce orstake, Ceurk. iho just dismissed ae. worvheeck acd

reason (needed for. pevnlk. conasideobion ert oul dee. PreCeES, M. reteliation ymeved to coll cotth
synokers Atrug achchs im retaliation for O Gl Onin ‘ov, White presto
his heed th (safety wussu danger re questing Prete bye Castedy ywas dented. “oh Fe clkges
k as tortie On uty ‘tipl tes OD é d
“yrokebed .. Whyte. ets hele m aby petal cmd he fe ordinary diseyolnacy Cnclitiaee of.
pesca bfe Sen 204 dew s aF hee. White. ews have ssadaud tortured by seg, oS f; ‘ctaly bus

Sey “hh “real ybyex fect? br be Sigua PC ldai wy by Pp wiles paisoneriwhite weS rey ueshitg

a OCCA « ne. peisene abtlen phe A hy stuncihalion why
WOES. deated medical hela by SegeaSSictals, hack jescthela ths h other. AEICSUS, « folite.
pecayed subsheatyal her Se kre

bres pert to hes pike by seantaarwe. _EAI ack bie nde le inSege Ap_en. robin fr
hesprtal in ced by his, bud Wn torks ent uted % ‘fi

Lbortwre. Unbil Whate wes transfered te LS CF syebshi i heldanetlen 15 ‘day, Fer. 30") se, let

XB-2 8/82 CIVIL RIGHTS COMPLAINT §1983

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 3 of 8

t

| (conti hued from, page, 2 ) “Sed Defendant

A.) Betend ant, EA ‘Van Meredith ylSaeitizen of Lansive /or/beavertuoth?

| Kayisas.. and | iS: cwiphog ced as Lint “Te Team, Supervisor, Lansing Correchonad
Et

Kaetlitu.. At the. bine. the. chims adlegod in thes cow ys len arose Las |
eens

| this Ae Send aut acting wader evlor nf stale, taco P

el Yes, IF your answeris “fas? hriek/y ky les

Hin. MeneditinCe urs was tie Lind corrediona) counselor CK ASC) lib

_ loans ass igkied ky ody pelsnreas cage. while White was hes vy held 14 Units

_Adacd AY /restrichve haus ig Crom B~ “AE LOL fo 10-23-9823 ak KF)

Hh hes end awa '

: 5) Hefend ank Bruce Chapmayt isa atti ZEN of Aans vis, ler f Leavevmex tht

_Kensas auc is euip longed ces thru t- Corre tid Supervisor I. At the

time the. claus all eger! MM this complaint arose, was this dekul aut

‘ackttyg uvder colo of. slate jaw? Ed Yes. IF Siu AUS Wey

eH brie tly ex plats |
OFFiver Chapwian was the Secutty Unit dfficer sn charg € efA any

rest chive. ons Ltyla me on. the. CPLA Lday shift Drwhich. Wate

was being held aud at the hime that lhe le was straygled Au Snr,

Cora ‘ot Tar aORA

Prae. aA 4 |

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 4 of 8

C. CAUSE OF ACTION
1) Lallege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: (If necessary you
may attach up to two additional pages (8h” x 11”) to explain any allegation or to list
additional supporting facts.)
A) (1) Count I: Ma. Saidlman en /e- 5-20 vicleled Whites lst Amend meu ond
Establish meat clause 2 PIGKh by tree. euereise oF religion ,speecydu & pie WSS s cud
egal treatment aF the leis thew on 3° 27- 2n49 Mn Spilman re fobs cobed

against White's pight to.access the cour Fs, a cent tebimolly protected.
achivitue HHth Ameud ment vizlation »

(2) Supporting Facts: (include all facts you consider important, including names of
persons involved, places and dates. Describe exactly how each defendant is involved.
pie the facts clearly in your own words without citing legal authority or argument.):

fst Ameud mach. Freedav ef Aehigtens. Gaye te. alleges, his scbisam ssel by Mn, Spilman
fee hi ot Si

3 - on “4 y

te. his. i berty uterest spiel to vifeal wonshap 5 Bible Stn cy curgd Fellow si weith,
his fre tees fey stay) hrolwers ab S we des "Age b, ed f ented
access. fp chaplain ana yoi ute clengy, age xed by hee Stabe PrISEHES éscoz
bpp ao-, ( Actes to Aye sand Savices avid slakF visits tn Restrict
Cintinekon page. 3A)
B) Q) Count Il: #7n Ayks ip vielofe.) Lwhite’s Sth Amendment igh te be Sree

Pera REL aed seats purishmeny , od ented Whiteimncdiake medical core...

“hesey ng hohe fe probestve cas hades oursuent te {MAP 2o- 128) awd helding White,
Joh BOY dau Sunder “alypa a cordihiass oT coals wot thpet due pecess
and exfor Finn of signafare 67- PO WeaVer,
(2) Supporting Facts: A) Due Process: fihik. asserts he hed dene hething LOF ELC,
bat éndy inred eps Brad? (seen bevescoun AMA) page 3) After being

edie ow Tee MLS Py a ‘Sat. polsc 20» 1:
1x 183 Wedd Hee chistes ary reports sone div “alsebet ig order temove to fs
(seerExhsbit bh’) for 60-dau tora). White aleqer he rods denied due protess

ad-b Rikeeag, because he toas deuiea to he preseatat Ish ecu ig aud denied.
witnesses a hothe Yet lh te was held ty SCF s Sars 20 dass at LCF, 10S Hou tractas
“Ceoulyywed ert pe ge 8) t

XB-2 8/82 CIVIL RIGHTS COMPLAINT §1983

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 5 of 8

CC. Cause of ACHE ADA) continueds Count |

Housing Units (1), Ci) which was deujed fo WWiute., (6) Wu fe. alleges this “subsindi}|
lourdlened Ms sthoereha held relia tvas hebief's.” That true. Uwishian believer's Dh our

Lord and Savior Xeus. Chiists

clirect a of indivec: ty ethers dos tiumble-aucl sin fl indole pk en cause¢ deat hu

Pre abuse and misuse. of drugs, (sec Mae. Deshers hacky Bi ble: Malt I%e7, Mark

92 42, huke | 7! 2s te) White asserts this wes done. sterhe con stions auel hjextioudl
infewderewsce., by ie Spillman hecause.T redued te allow him je pie se} Lybxe. his Siabise.

ed me“ anteachable. (a) Wwe 4 ssepbs Ain,

Spillman told me. $ ut Keak comp) ef A HG} ct newt abougs sda he. feel bata life LA!

b: : speliqius
exeveise. phesautse ck skh pt ds Cebee s a Aer Ae nd fe phase ‘between
agree Uke needed te
- Suith atleupt of vwhase ri ght,
Due process 3 @ lite acverts he é yrtaht 3 2. PEteSS $

sjote sjatute wid en CHEE

ca} pevlecked jiherty

Aish: Coy} Case. Mo £2692 CY 223 onr/a-}Q* 2092. (ey idhite asserts tat hoe

mecha or [l-2-2o AR, BA ofFreels Aa Awe. Tehuson 4¢ sade tug hes reach Gary

Spine, Cis pied aud Huseecbsed Lokute, Hae thoy were ebiiace bat Yes pe’e. me Seen

ance EAA w2Iwb resol

1
i

iutien ves pousg.: Tes sevre. laser was Cousin ata told to loi ke by HO

hele Ltet, that tt Was, as told to limb y Hr Sp meri.. ¢ A)Stete evcated Liberty
hukerest iV ine White. due Process pootechiea, is rig lis + securecd hy Kis, A. 75-521 y

KS AQ SHIT 2 BY] Wie), 21° 5909 (vickina huilnes), KAA

Hie P1001 100% Hol }201, 1322 4 2 NAR |3-ntaud Kiel 15-104 Reprisals Loe

hibited , ImPp 20-108) and the. BiBA Member Feliay avd) frecedare. Had beok >
folices aud Procee ure, 2) frowrap. Commitments , 2h), Ae 32s 324) Di'scyp) ares fo wee

uy e. Sor OF Feuses Wok Res cbhing in Liaynedtake Fevutsbabin' vic 40 aye snared fron

Prog tev ark Be 2) Appeas Process. White had done. thin WANG, or received
CUAM any discapldrany achins, HereFore. 1 ,

ark irerihy ant Copr pus ley fer op veld reasene CEiBer huceX Prismer-alonse)

lWWhate asseats the BBR audi Mn G onus oe Wann aro. 22% cess ved Lukert eying,
wih. the security 4 satety auc wavien gue:

oF red jeioets holies fs and every Peels vey Sad mays trative grieyatice ressobudion LOS pO

P d he 3 ( 4) fi im meevertl” donger)

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 6 of 8

CQ. Carse ok Ache B)(2cubinueds Count IL Covit imtecr)
Seven’ hee ta gS or: peesoviah yenieurs, WW hate asserts he hes a Censhitbehtona} b Ler Fy

aiWderest te he released upon completinn of settence walkto Maou cheuwrges onch ve

i nobice.conrd right te be hee?) aud stale. treated Wv berty mberesy pursuant to te,

PCE T theeugh. BAA A¢4W 19-1309 avd MIRAGE AS IO! geith evi | Wieak,

B) Censhinacey (Exdorhe: ole & sc ) Lda te ele i

signed a pe uke yen “Yok Lobitze. hew) heen denied, 20, sods LE oud - Wide hole fare”

sinctive housing. alter Whiletews petipned

ik acell hry muysolfs But, Hin fousks resused tnascept- it, nd hoa be dhae 2 oN eat £2) 27)

auvither DR. ih “which. Whi fe ss Sound “Mok Guilty" Huis Hue... (seezExld brk- 4s)

Lda te alles os this twas pe hese menk asd reteliabien

“and clatas buy écl cntal se arlyd sant ete etn apn [Bnins. pidays <t

leceds Sos the wer, denied show er shoes ise oS hondicay shaper, dodhes, jenth bash, mace

te Ghuych services. deatecl access te ly’ brevis , hetu d, hoary, while, lubu'te zons SAF ee. Seale a

jg Stake coir, cleuted lege) paper sank cud veferoune ‘e saber > Sian pexperts te

peatedly cus fed Frea. he. bind, where L cele as url K er 268 Cane. tp ahs tardas ved br

loud mcd anise blaste,) file cell atglttavcd dag, toobavedd by cow sieasd potabeobian

oF pet Seners, wut nto. cell thet I requested am, tectipu ton eve whet was suppose |

inhe du coll hy muy scl) White allenes Maths had full Kuw ledge Hat he us horesss lag |

lhe aud 4 5 fehl hater, use.

xed Shrewaled b 4, ees ret. Cssue in Fatergan.ss Griese ber 50.0.2

D,) Medica) Gres white assorts

Heat, Wee shock wit swelling, bruises, nail gouges Scrap 5 cael considerable, pain

fF (Owl Sey. Herat, Coarse idee ey hued #61 Sig? wk, theb reudSl Aave. cod esF brecteiy .

Lite. alleges he teld Co Che rman elec ith cord Hy hurts he weeded medrend

hele They coubed clench hee / pars edepoe le. need

Hess a rebitsed when Las hed cach ol themat Arf leven Wmes. tonite. alleges adi
thos cared oak wes Seechse wie te Sig Hrev)- PE wover. lohiteasserts Hes eens

a serions medical need peaus ina decker tad’. which cust be seca ge es =

POOsor2 (Has He

LCF medica) chtaic ie. coguieerd The sericnta reed tu) send tol be fo ee u Pesos fal

bu amilouleuce » White assets Wy forks My Meres ith.., CoChe prices) Kaew oF avd A's”

regached an excess Ve riak to Lthites beadth

n_elder pers. be. prr’

og F
roe 38

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 7 of 8

C) (1) Count Hi: 49, Meveddh avddi. i bh:
Srena_crued ancl amsial puushiaest, bay thesr Moving) ewe, dd isiteg Se Gailure fe pte

the subs doutiahly Serious sur 5 K caused? dies, ch LC
on Ta- 2693 and with evil inked conspired with Miterks U7, te Cohort: Ok tes,

_signdhure on a PC woatven,

(2) Supporting Facts: (ce C. Conse oF Achien 1,8 23 Conspive
b) mediced Cores) White. abeges the Ist responder, bes! rengulahon on 7792:2023 was 01 Chops ieee}
who refused While medical help, and Hew reSused to sep eabe Gorra frou While, war) Whe te
signed 4. PC univer Cader duress). O1€ hep rekuapnied 20th hes Meredith ender agam...
when asked iin Meredith re p al dare. White, 28 bei Chany one)
ste, Mcsedin-conspived patil. Ma Ark 7. <ihortdahslecsravohere tnd Aunive verwit hen Linteuk

A “se e+ on nevelice, police or are > tn vie lo

“disncs, nights Areckless disregand for Whites heal themed safei
D. PREVIOUS LAWSUITS AND ADMINISTRATIVE REL (EF

1) Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to the conditions of your imprisonment?
Yes DX] Nol_] . If your answer if “Yes”, describe cach lawsuit. (If there is more than

one lawsuit, describe the additional lawsuits on another piece of paper, using the same

outline.)
a) Parties to previous lawsuit:

Plaintiffs: Bobb y. Bruce. W bute. te. 1% 783

Defendants: koac sec. Jef Zui, Be

b) Name of court and docket number /s

Kanstss, Case Mo 1 2022 0VI2.% Habeas Corps (K.5A.604150))

c) Disposition (for example: Was the case dismissed? Was it appealed? Is it still

pending?) Fis case is still pendiae On 2152084 , Judge Qinker

Lee ordefed a thauge.of venue to Bronce Cos bist. Court?
Dicko Malton aud reprisal. becatse of voting. phe. gritvance...
d) Issues raised PUBOLES and accss mes fhe. courts (2) failure. tO pre’ tech
Eider abuse, CN Exe rt ‘onof signorure 3 CI Ay preah condiHerts
JUG eYLE “al 14 bu Simuqulahien z

Conced end ey puns hment}

XE-2 8/82 CIVIL RIGHTS COMPLAINT §1983

Case 5:24-cv-03023-DDC-RES Document 8 Filed 05/28/24 Page 8 of 8

e) Approximate date of filing lawsuit_ JQ-ia~ IOaAR

f) Approximate date of disposition _Licknpia A, because at Venue Charge
Kansas dist Court stil has nok served the. Wntk itgnaed lhite,to the defeududy
1) Ihave previously sought informal or formal relief from the appropriate administrative

officials regarding the acts complained of in Part C Yes DXLNoL_]. if your answer is
“Yes”, briefly describe how relief was sought and the results. If you answer is “No”,

briefly explain why administrative relief was not sought,

COUNT Li Grievzute Amen) te 3.0.0 4Aft 200-3086 Uo-s.zoad and N/A (nei Assined Cp aseeD

Cfatle FES A ited te 9G et ASS AB or adit acuta j -

Gout T IL Fil sGnevomer Appeak S20 Hea 91 Gver Relies)  Onievanees, issues. sudid ied, .
ne -subndited dre -submrted (frilurete prefect - Gurze athek ~ av snmedole medio! hela)
heciSc ob Ae Aes pease by IF Unit fant, Bbapcler Auch S19L  Appouds went direct fe $0.0 Sese a.
Zrutdet , by legal seevyce VCO gon cv 329 on (1-1, 9-25 18-30,4-40;2023 FAA 1029032 evel

(Ae), 107479023) 3 Pre per ty Iss dei mode en baa 20a and perdered fujuny Onn |
pn 1-1-2023, No paswews or poles otlered ox avat loble.

2) REQUEST FOR RELIEF

1) I believe that I am entitled to the following relief: From a jury demand 3 fer>

AN Count #100 Momipal or Ses auupdltZ5 Door, a lomages a >
 , determpned by jury /eourt

(0) Cot TE LF 1:02 plow; fi. Aor. é ng aeteyy ds 215,000 » ¢
. purdliye Admages as te be debepmmned hy jure aurt, from each
court enstand any atlornen See. avd) anes prey avord or srttlement the
snmp OLMED, Ajur4 . Sinds Fas caccd equats breCup be -the. lega' wit alowed,

Ballas Basse e LUhede #7ETES
Signature of Attorney (if any) () Signature of Plaintiff Ano -S ©,

Bobby Bruce White "76983 _
Larned State Corvectional Facility
ABIS KS, Hig hie hoy
Larned, Nausas 67550.

(Attorney’s full address and telephone number}

KE-2 8/82 CIVIL RIGHTS COMPLAINT §1983

